Case: 4:22-cv-00062-SA-JMV Doc #: 166-4 Filed: 11/21/23 1 of 7 PagelD #: 2978

Date
27 MAR 23
28 MAR 23
29 MAR 23
30 MAR 23
31 MAR 23
1 APR 23
2 APR 23
3 APR 23
4 APR 23
5 APR 23
6 APR 23
7 APR 23
8 APR 23
9 APR 23
10 APR 23
11 APR 23
12 APR 23
13 APR 23
14 APR 23
15 APR 23
16 APR 23
17 APR 23
18 APR 23
19 APR 23
20 APR 23
21 APR 23
22 APR 23
23 APR 23
24 APR 23
25 APR 23
26 APR 23
26 APR 23
27 APR 23
28 APR 23
29 APR 23
30 APR 23
12 MAY 23
2 MAY 23
3 MAY 23
4 MAY 23
5S MAY 23
6 MAY 23
7 MAY 23
& MAY 23
9 MAY 23
10 MAY 23
11 MAY 23
12 MAY 23
13 MAY 23
14 MAY 23
15 MAY 23
16 MAY 23
17 MAY 23
18 MAY 23
19 MAY 23
20 MAY 23
21 MAY 23
22 MAY 23
23 MAY 23
24 MAY 23
25 MAY 23
26 MAY 23
27 MAY 23
28 MAY 23
29 MAY 23
30 MAY 23
31 MAY 23
JUNE 23
2 JUNE 23
3 JUNE 23
4 JUNE 23
5 JUNE 23
6 JUNE 23
7 JUNE 23
8 JUNE 23
9 JUNE 23
10 JUNE 23
11 JUNE 23
12 JUNE 23
13 JUNE 23
14 JUNE 23
15 JUNE 23
16 JUNE 23
17 JUNE 23
18 JUNE 23

David A.
Swanson, Ph.D

Hours (RED FONT IS
BILLED TO
PLAINTIFF)

0

2

0
0
0
0
2
15
0

Ru

N
OnHLoancncncneowonanc aco co oF

w

eceoepseeoeoevescososooesceosossaowPoeosa

1 Lake Louise Drive #19, Bellingham, WA
98229

TASK(S) FOR 2023, CONSULTING AGREEMENT*

REVIEW BURCH'S REBUTTAL: and Logistic regression
REVIEW BURCH'S REBUTTAL: and Logistic regression

research/refresh myself on logistic regression
research/refresh myself on logistic regression
research/refresh myself on logistic regression

research/refresh myself on EI
research/refresh myself on El
research/refresh myself on Et

INSTALL R

INSTALL R STUDIO
OBTAIN KING'S E] PROGRAM IN R
INSTALL AND RUN El DEMO
REVIEW BURCH'S REBUTTAL
CALL; ANALYZE BURCH'S CES DATA
analyze ces data and logit reg syntax
analyze ces data and logit reg syntax
analyze ces data and logit reg syntax
CES DATA ANALYSIS
CALL, CES DATA ANALYSIS

REPLICATION OF BURCH's LOGIT ANALYSES
CONST. OF LOGISTIC MODEL WITH CORRECT WEIGHTS

COMPARING INCORRECT TO CORRECT MODE

WRITING EVAL OF BURCH's LOGISTIC MODEL
WRITING EVAL OF BURCH's LOGISTIC MODEL

DISCUSSION W TOM RE El DATA
ZOOM MEETING RE BURCH E! DATA; EVAL OF SAME

LABOR
$0,00
$0.00
$0,00
$0.00
$0.00

$800.00
$860.00
$0.00
$600.00
$400.00
$400.00
$0.00
$860.00
$860.00
$980.00
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
$0,00
$200,00
$0.00
$200.00
$800.00
§1,100.00
$1,200.00
$2,000.00
$1,600.00
$2,060.00
$1,600,00
§2,600,00
$1,200,00
$0.00
$0.00
$300.00
$1,400.00
$0.00
$0,00
$0.00
$0,00
$0.00
$0.00
$0.00
$1,200.00
$0,00
$0,00
$0.00
$0,00
$0,00
$0,00
$860.00
$800.00
$0,00
$0,00
$0.00
$0.00
$0.00
$0.00
$200.00
$1,200.00
$0,00
$0,00
$0,00
$0,00
$0,00
$0,00
$0,00
$0.00
$0,00
$0,00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0,00
$0,00

OTHER COSTS*
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
§0,00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
§0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
$0.00
$0,00

SUM
$0.00
$0,00
$0,00
$0.00
$0.00
$800.00
$860.00
$0,00
$600.00
$400,00
$400.00
$0.00
$860.00
$860.00
$980.00
$0.00
$0.00
$0.00
$0,00
$0,00
$0.00
$0.00
$200.00
$0.00
$200,00
$800.00
$1,100.00
$1,200.00
$2,000.00
$1,600.00
$2,060,00
$1,600.00
$2,600,00
$1,200.00
$0.00
$0,00
$800.00
$1,400,00
$0.00
$0.00
$0.00
$0.00
$0,00
$0,00
$0,00
$1,200,00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$860.00
$800.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0,00
$200.00
$1,200.00
$0,00
$0,00
$0,00
$0.00
$0,00
$0,00
$0,00
$0.00
$0,00
$0.00
$0.00
$0,00
$0,00
$0,00
$0,00
$0,00
$0.00
$0.00
$0,00
$0,00
$0.00
$0,00
$0.00

RUNNING SUM
$0,00
$0,00
$0,00
$0.00
$0,00

$800,00
$1,660.00
$1,660,00
$2,260,00
$2,660.00
$3,060,00
$3,060,00
$3,920.00
$4,780.00
$5,760.00
$5,760.00
$5,760.00
$5,760.00
$5,760.00
$5,760.00
$5,760.00
$5,760.00
$5,960.00
$5,960.00
$6,160.00
$6,960,00
$8,060.00
$9,260.00
$11,260,00
$12,860,00
$14,920,00
$16,520.00
$19,120,00
$20,320,00
$20,320.00
$20,320.00
$21,120.00
$22,520.00
$22,520,00
$22,520,00
$22,520,00
$22,520,00
$22,520,00
$22,520,00
$22,520,00
$23,720,00
$23,720,00
$23,720,00
$23,720.00
$23,720.00
$23,720.00
$23,720.00
$24,580.00
$25,380.00
$25,380.00
$25,380.00
$25,380.00
$25,380.00
$25,380.00
$25,380.00
$25,580,00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780,00
$26,780.00
$26,780,00
$26,780.00
$26,780.00
$26,780.00

Location
Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Beltingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA

Las Vegas, NV
Las Vegas, NV

Las Vegas, NV

Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA

LIGiHxa
invoice of July

13

Case: 4:22-cv-00062-SA-JMV Doc #: 166-4 Filed: 11/21/23 2 of 7 PagelD #: 2979

19 JUNE 23
20 JUNE 23
21 JUNE 23
22 JUNE 23
23 JUNE 23
24 JUNE 23
25 JUNE 23
26 JUNE 23
27 JUNE 23
28 JUNE 23
29 JUNE 23
30 JUNE 23
1JULY 23
2 JULY 23
3 JULY 23
4 JULY 23
5 JULY 23
6 JULY 23
7 JULY 23
8 JULY 23
9 JULY 23
10 JULY 23
11 JULY 23
12 JULY 23

13 JULY 23

14 JULY 23
15 JULY 23
16 JULY 23
17 JULY 23
18 JULY 23
19 JULY 23
20 JULY 23
21 JULY 23
22 JULY 23
23 JULY 23
24 JULY 23
25 JULY 23
26 JULY 23
27 JULY 23
28 JULY 23
29 JULY 23
30 JULY 23
31 JULY 23
1 AUG 23
2 AUG 23
3 AUG 23
4 AUG 23
5 AUG 23
6 AUG 23
7 AUG 23
8 AUG 23
9 AUG 23
10 AUG 23
11 AUG 23
12 AUG 23
13 AUG 23
14 AUG 23
15 AUG 23
16 AUG 23
17 AUG 23
18 AUG 23
19 AUG 23
20 AUG 23
21 AUG 23
22 AUG 23
23 AUG 23
24 AUG 23
25 AUG 23
26 AUG 23
27 AUG 23
28 AUG 23
29 AUG 23
30 AUG 23
31 AUG 23
1 SEP 23
2 SEP 23
3 SEP 23
4 SEP 23
5 SEP 23
6 SEP 23
7 SEP 23
8 SEP 23
9 SEP 23
10 SEP 23
11 SEP 23
12 SEP 23

2

eceoeeacooyaon0nanaaona
a

N
KFooocaco of

2
Nu
Ga

eo00ec0eco ceo ooooeeoeoeoaoe eo aa esa

e
w

oooce

ZOOM CONF CALL

ANALYSIS OF BURCH'S LOGISTIC MODEL 2

REVIEW BURCH'S REBUTTAL: El

ZOOM CONF CALL & PREP & INITIAL SUMMARY CES
ANALYSIS ,

continue with CES analysis
continue with CES analysis
continue with CES analysis
continue with CES analysis
draft of findings

draft of findings
draft of findings
draft of findings

draft of findings
draft of findings
draft of findings
draft of findings
draft of findings
draft of findings
draft of findings

draft of findings

draft of findings
zoom call and draft of findings
draft of findings
draft of findings
CES study research
CES study research

ZOOM CALL AND REVISION OF DRAFT

$0,00
$0,00
$0.00
$0,00
$0.00
$0.00
$0.00
$300,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$1,000,00
$0,00
$0.00
$0.00
$0,00
50.00
$0,00
$400.00

$1,500,00

$0.00
$2,400.00
$800,00
$1,800,00
$600.00
$200.00
$0.00
$0.00
$0.00
$0.00
$400.00
$300.00
$200,00
$0.00
$0.00
$0,00
$800,00
$1,200.00
$400.00
$200,00
$200.00
$200.00
$300.00
$0.00
$200.00
$0.00
$200.00
$1,900.00
$400.00
$200.00
$100.00
$200.00
$0,00
$0.00
$0,00
$0,00
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
$0,00
$0,00
$0.00
$0.00
$600.00
$0.00
$0.00
$0.00
$0.00
$0,00

$0.00
$0,00
$0,00
$0,00
$0,00
$0.00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0,00
$0.00
$0.00
$0,00

$0.00

27 MAR 23 -

13 JULY 23
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
$0,00
$0.00
$0,00
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
§0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00
$0,00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0,00
$0.00

$0.00
$0,00
$0.00
$0,00
$0,00
$0.00
$0.00
$300,00
$0.00
$0.00
$0,00
$0.00
$0.00
$0.00
$0,00
$0.00
$1,000,00
$0,00
$0,00
$0.00
$0.00
$0,00
$0.00
$400,00

$1,500.00

TOTAL TO BE BILLED

TO PLAINTIFF
$0.00
§2,400,00
$800.00
$1,800.00
$600.00
$200.00
$0.00
$0.00
$0.00
$0,00
$400.00
$300.00
§200,00
$0,00
$0.00
$0.00
$800,00
$1,200,00
$400.00
$200.00
$200.00
$200.00
$300.00
$0.00
$200.00
$0.00
$200.00
$1,900,00
$400.00
$200,00
$100.00
$200.00
$0.00
$0.00
$0.00
$0,00
$0.00
$0.00
$0,00
$0.00
$0,00
$0,00
$0,00
$0.00
$0,00
$0,00
$0,00
$0.00
$0,00
$0,00
$0,00
$0.00
$0.00
$0.00
$0.00
$600.00
$0,00
$0,00
$0,00
$0,00
$0,00

$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780.00
$26,780,00
$26,780.00
$27,080.00
$27,080.00
$27,080.00
$27,080,00
$27,080,00
§27,080,00
$27,080.00
$27,080.00
$27,080.00
$28,080.00
$28,080.00
$28,080,00
$28,080,00
$28,080,00
$28,080.00
$28,080,00
$28,480.00

$29,980.00

$29,980.00
$0,00
$2,400.00
$3,200.00
$5,000.00
$5,600.00
$5,800.00
$5,800.00
$5,800,00
$5,800.00
$5,800,00
$6,200,00
$6,500,00
$6,700,00
$6,700,00
$6,700,00
$6,700.00
$7,500.00
$8,700,00
$9,100.00
$9,300.00
$9,500,00
$9,700.00
$10,000.00
$10,000.00
$10,200.00
$10,200.00
$10,400.00
$12,300.00
$12,700.00
$12,900.00
$13,000,00
$13,200.00
$13,200.00
$13,200.00
$13,200.00
$13,200.00
$13,200,00
$13,200.00
$13,200.00
$13,200.00
$13,200,00
$13,200.00
$13,200.00
$13,200.00
$13,200,00
$13,200.00
$13,200.00
$13,200,00
$13,200.00
$13,200.00
$13,200.00
$13,200.00
$13,200.00
$13,200.00
$13,200.00
$13,800.00
$13,800.00
$13,800,00
$13,900.00
$13,800.00
$13,800.00

Bellingham, WA

Bellingham, WA

Bellingham, WA

Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA

Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA
Bellingham, WA

Bellingham, WA

Case: 4:22-cv-00062-SA-JMV Doc #: 166-4 Filed: 11/21/23 3 of 7 PagelD #: 2980

13 SEP 23 0 $0,00 $0.00 $0.00 $13,800.00
14 SEP 23 1 finalize declaration $400.00 $0,00 $400.00 $14,200.00 Bellingham, WA
15 SEP 23 15 finalize declaration $600.00 $0.00 $600.00 $14,800.00 Bellingham, WA
INVOICE OF 15 14JULY23TO TOTAL TO BE BILLED
SEP 23 15 SEP 23 TO PLAINTIFF $14,800.00
16 SEP 23 0 $0.00 $0.00 $0.00 $0.00
17 SEP 23 0 $0.00 $0.00 $0.00 $0.00
18 SEP 23 1 finalize declaration $400.00 $0.00 $400.00 $400.00 Bellingham, WA
19 SEP 23 1,5 finalize declaration $600.00 $0.00 $600.00 $1,000.00 Bellingham, WA
20 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
21 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
22 Sep 123 0 $0.00 $0.00 $0.00 $1,000.00
23 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
24 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
25 Sep 23 0 $0.00 $0.00 $0,00 $1,000.00
26 Sep 23 0 $0.00 $0.00 $0,00 $1,000.00
27 Sep 23 0 $0.00 $0,00 $0.00 $1,000.00
28 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
29 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
30 Sep 23 0 $0.00 $0.00 $0.00 $1,000.00
1 Oct 23 15 REVIEW FOR DEPOSITION $600.00 $0.00 $600.00 $1,600.00 Bellingham, WA
2 Oct 23 2 REVIEW FOR DEPOSITION $800.00 $0.00 $800.00 $2,400.00 Bellingham, WA
3 Oct 23 1 REVIEW FOR DEPOSITION $400.00 $0.00 $400.00 $2,800.00
4 Oct 23 15 deposition prep $600.00 $0.00 $600.00 $3,400.00 Bellingham, WA
5 Oct 23* 7 deposition $2,800.00 $11.14 $2,811.14 $6,211.14 Bellingham, WA
6 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
7 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
8 Oct 23 0 $0,00 §0,00 $0,00 $6,211.14
9 Oct 23 0 $0,00 $0.00 $0.00 $6,211.14
10 Oct 23 0 $0,00 $0,00 $0.00 $6,211.14
11 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
12 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
13 Oct 23 0 $0.00 $0.00 $0,00 $6,211.14
14 Oct 23 0 $0.00 $0.00 $0,00 $6,211.14
15 Oct 23 0 $0.00 $0.00 $0,00 $6,211.14
16 Oct 23 0 $0,00 $0,00 $0,00 $6,211.14
17 Occt 23 Q $0.00 $0.00 $0.00 $6,211.14
18 Oct 23 0 $0,00 $0.00 $0.00 $6,211.14
19 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
20 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
21 Oct 23 0 $0.00 $0.00 $0.00 $6,211.14
22 Oct 23 4.08 1ST REVIEW AND CORRECTION OF DEPOSITION $1,632.00 $0.00 $1,632.00 $7,843.14 Bellingham, WA
23 Oct 23 2.15 2ND REVIEW AND CORRECTION OF DEPOSITION $860.00 $0.00 $860.00 $8,703.14 Bellingham, WA
24 Oct 23 1 SIGN, NOTAARIZED & MAIL ERRATA SHEET*** $400,00 $0.00 $400.00 $9,103.14
25 Oct 23 0 $0.00 $0,00 $0.00 $9,103.14
26 Oct 23 0 $0.00 $0.00 $0,00 $9,103.14
27 Oct 23 0 $0.00 $0,00 $0,00 $9,103.14
28 Oct 23 0 $0.00 $0.00 $0.00 $9,103.14
FINALIZATION (ON FORMS) OF REVIEWS OF DEP. &
29 Oct 23 1 MAILING** $400.00 $38.40 $438.40 $9,541.54 Bellingham, WA
30 Oct 23 0 $0,00 $0,00 $0.00 $9,541,54
31 Oct 23 0 $0.00 $0.00 $0.00 $9,541.54

16 SEP 23T0 31 +=TOTAL TO BE BILLED
OCT 23 TO PLAINTIFF $9,541.54

*mileage: 1 lake louise dr to Sheraton 4 Points, r/t = 17 miles @ 65.5 cents/mile, per GAO 2023 business mileage rate = $11.14
** Mailing cost = 2 first class stamps ($1.32) and envelope ($).10 = $1.42

***mileage 1 lake louise dr to UPS store, 4152 Meridian, Bellingam & return = 12x2 @ 5.65/mile + time = 1 hour + cost of notary & mailing to Buell = $15.60 + $450 + $22 80 = $483.40

David A.
INVOICE OF 31 = Swanson, _—_1. Lake Louise Drive #19, Bellingham, 27 MAR23TO TOTAL DUE FROM
OCT 23 Ph.D WA 98229 31 OCT 2023 PLAINTIFF $54,321.54

Dewd A. Suemgon

Case: 4:22-cv-00062-SA-JMV Doc #: 166-4 Filed: 11/21/23 4 of 7 PagelD #: 2981

Thomas M. Bryan

13106 Dawnwood Terrace

Midlothian, VA 23114
425-466-9749
tom@bryangeodemo.com

September 18, 2023
Wise Carter PLLC
Attn: Michael B. Wallace
PO Box 651
Jackson, MS 39205-0651

Third Invoice for Mississippi Supreme Court Redistricting Litigation, Via Email

Mr. Wallace,

Thank you very much for the engagement and the opportunity to serve in support of your demographic
expert in the case of Dyamone White, et al v. State Board of Election Commissioners, et al. This invoice
for the second quarter of 2023 (July 21, 2023 to September 14, 2023) reflects 14 hours for Mr. Thomas
Bryan billable to the Plaintiffs (for $5,600) as detailed in Appendix 1.

Please let me know if you have any questions.
Best regards,

Tom

Thomas M. Bryan Dyamone White, et al v. State Board of Election Commissioners, et al. Invoice 2 Pg. 1 9/18/2023

Case: 4:22-cv-00062-SA-JMV Doc #: 166-4 Filed: 11/21/23 5 of 7 PagelD #: 2982

APPENDIX 1: Thomas Bryan Invoice Detail

7/21/2023 1.50 5600.00 Document review and client call
8/10/2023 1.00 $400.00 Client Call
8/18/2023 1,00 $400.00 = Client Call
9/11/2023 4.75 $1,900.00 Report writing
9/13/2023 3.25 $1,300.00 Report writing
9/14/2023 2.50 $1,000.00 Report writing
Total 14.00 $5,600.00

Thomas M. Bryan Dyamone White, et al v. State Board of Election Commissioners, et al. Invoice 2 _—Pg. 2 9/18/2023

Case: 4:22-cv-00062-SA-JMV Doc #: 166-4 Filed: 11/21/23 6 of 7 PagelD #: 2983

Thomas M. Bryan

13106 Dawnwood Terrace

Midlothian, VA 23114
425-466-9749
tom@bryangeodemo.com

Wise Carter PLLC

Attn: Michael B. Wallace
PO Box 651

Jackson, MS 39205-0651

Second Invoice for Mississippi Supreme Court Redistricting Litigation, Via Email

Mr. Wallace,

July 24, 2023

Thank you very much for the engagement and the opportunity to serve in support of your demographic
expert in the case of Dyamone White, et al v. State Board of Election Commissioners, et al. This invoice

the first half of 2023 invoice reflects three amounts:

1) 75 hours for Dr. David Swanson billable to the Plaintiffs (for $30,000)
2) 13 hours for Mr. Thomas Bryan billable to the Clients (for $5,200)
3) 54.25 hours for Mr. Thomas Bryan billable to the Plaintiffs (for $21,700)

For a total of $56,900. Please let me know if you have any questions.
Best regards,

Tom

Thomas M. Bryan Dyamone White, et al v. State Board of Election Commissioners, et al. Invoice 2

Pg.1 7/24/2023

2984

11/21/23 7 of 7 PagelD #:

166-4 Filed:

22-cv-00062-SA-JMV Doc #:

4

Case

Detail

ice

Thomas Bryan Invo

APPENDIX 2

$39 uo duuMm yoday

$3 uo Sum yoday

[29 qual>

all} XSTX'1d 404 ASIP|esjUdIaMaU S,4ydINg Ul S}UaWUBIsse

Aqunod snoauowa paljquap| “ey ep 1S1/e18D SOS JO S1eIS pamalnay “1JeIp 6A Pamala pue payoddns
ey ep young Ul JOJJa 4 UO!}e51)]Uap! pue UOljerO}dx~a e}ep [J “JUAal|> YUM ||eD
UO}}e3UNWWOS qUAl|D ‘AAUPH Woy Sajlj e}ep SOS paulwexa pue papeojumoq
sisAjeue uoNnqlIsip Juss /S3D / SOV

aauapuodsaio2 ywual|>

Sd pue $99 uo yeasay

SdD pue $9 Uo Ueasay

Sd> pue $95 uo yjeasay

Sd2 pue $39 uo yueasay

49B]U09 gs ‘MalAal JIyAjeue ‘|[29 JuAal|D

MalAal JOP UOl}OW sulAuap JaplO

uondi3seq

OM snolAaid 5,yoing iq payeasay

“Juawuleye jeuoljeonpa jo s3]e9 young UO S|IP}ap papiAoud ‘syg Jo UOerejI—ap |eJUsWa|ddns payenjeng

Jadoo pue ysung wo} sjiodal (e]]NGal payenjenq
Jadoo} pue yang wolj suodas jeyngal pazenjeay

uondyosag

00°002‘Tz$

00'008ES

00'006'$
0000"

00°009‘2S

oo'00r'TS
00°00z$
00"00s$
o00'00e$
00'002'7S
oo'00z'%$
oo'00€’zs
00°009‘TS
00"009$

o0'00z$
feoL

00°00z‘s$
00'000'TS
00'00S'T$
00'00Z'TS
o0'000'TS

Jey0)

OS'e
0s'0
S¢eT
sZ'0
as’s
S29
SZ
00'r
Os'T
os’0
sInOH aL

ao’eT
os’?
SLE
Sc'v
as’?

SINGH G1

MULE] d [2I0L
€cOt/2t/L
€20@/TT/L
£20¢/92/9

€20Z/€T/9

€702/92/S
€202/8/S
€70¢/€/S
€202/T/S
€t0¢/8¢/v
€20¢/Le/b
€202/92/v
€20¢/S¢/v
€202/v2/7
€202/vT/
ayeq

yualyD {e301
€z0z/2Z/€
€zo7z/L/e
€20¢/0T/Z
€202/8/2

ayeq

Pg.3 7/24/2023

Thomas M. Bryan Dyamone White, et al v. State Board of Election Commissioners, et al. Invoice 2

